        Case 4:21-cv-00033-ALM Document 4-7 Filed 02/09/21 Page 1 of 1 PageID #: 379



AO 399 (01/09) Waiver of the Service of Summons




                                      United States District Court
                                                                         for the

                                                           Eastern District of Texas


                       Timothy Jackson                                      )
                              Plaintiff
                                                                            )
                                 v.                                         )      Civil Action No. 4:21-cv-00033
                      Laura Wright, et al.
                             Defendant



                                             WAIVER OF THE SERVICE OF SUMMONS


To:     Jonathan F. Mitchell
             (Name of the plaintiffs attorney or unrepresented plaintiff)


        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the comt's
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, 01 the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                01/14/2021             , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

                                                                                     Matthew Bohuslav                      Digitally signed by Matthew Bohuslav
                                                                                                                           Date: 2021.02.05 14:47:42 -06'00'
 Date      January 21, 2021
                                                                                               Signature of the attorney or unrepresented party

      £He * fOf                                   Id, I tVa^                                              Matthew Bohuslav
                                                                                                                 Printed name
         Printed name ofparty waiving service ofsummons
                                                                                              Office of the Attorney General
                                                                                              P.O. Box 12548, Capitol Station
                                                                                              Austin, TX 78711
                                                                                                                    Address

                                                                                              matthew.bohuslav@oag.texas.gov

                                                                                                                 E-mail address

                                                                                                              512.475.4099

                                                                                                               Telephone number


                                             Duty to Avoid Unnecessary Expenses of Serving a Summons

                                                                                                                                                 a summons
           Rule 4 ofthe Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses ofserving
                 A defendant  who   is  located in the United States and  who  fails to return a signed waiver of service requested by a plaintiff located in
 and complaint.
 the United States will be required  to  pay the expenses  of service, unless the defendant   shows  good cause for the failure.

                                                                                                                                                       has
            "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court
 no jurisdiction over this matter or over the defendant or the defendant's property.
                                                                                                                                                       of
            If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence
 a summons or of service.

                                                                                                                                                 plaintiff
             Ifyou waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 1 2 on the
                                                                                                                                            been served.
  and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had

                                                                                                                                            Reset
             Print                        Save As...
